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            PLAINTIFFS' EXHIBIT 73

REDACTED VERSION OF DOCUMENT SOUGHT
       TO BE FILED UNDER SEAL
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HIGHLY CONFIDENTIAL—ATTORNEYS’ EYES ONLY




April 11, 2022


VIA JAMS ACCESS

Special Master Daniel B. Garrie
DGarrie@jamsadr.com

Re:     In re Facebook Consumer Privacy User Profile Litigation, JAMS Ref No.
        1200058674

Dear Special Master Garrie,

        Pursuant to Order Following March 9, 2022 Hearing Regarding Plaintiffs’ Motion To
Compel Production of Plaintiff Data dated March 22, 2022, we submit this response on
behalf of Facebook. We also thank the Special Master for granting an extension of our time
to respond due to a medical condition on our team, as well as Plaintiffs for agreeing to our
request for an extension.

                                            Hive

1.      How does ad impression and ad click data for Facebook users get into Hive?

Answer: Ad impression and ad click data are received by Facebook servers through a HTTP
web request from a user’s web browser or the Facebook app installed on the user’s device.

2.      What tables store ad impression and ad click data for Facebook users?

Answer: The following Hive tables store ad impression and ad click data:

●

●
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2.      Does Facebook track user activity across the Internet using cookies? If so, what
cookies does Facebook use? Provide a statement explaining the use of cookies in tracking
user activity on and off the Facebook platform to create behavioral data about users. Provide
documentation on the use of fbp, fbc, and DATR cookies. Explain whether the scope of
tracking user activity includes on or off platform activity, or both.

Answer: Facebook does not track user activity across the internet. Facebook receives data
about a user’s off-platform activity from advertisers who choose to integrate Facebook
Business Tools, such as Facebook Pixel, which in turn rely on web technologies like cookies.

Facebook uses browser and user cookies (on and off-platform).

Browser cookies used to identify the browser:

●      DATR: The DATR cookie identifies a web browser and is generally used for safety
       and security purposes.

●      _fbp: The _fbp cookie is set on the third party domain only if the advertiser/publisher
       has installed the Facebook Pixel business tool and opted into the use of these cookies.
       The cookie has a browser identifier, and the epoch time when the cookie was created.
       For documentation on the _fbp and _fbc cookies, please see
       https://developers.facebook.com/docs/marketing-api/conversions-api/parameters/
       fbp-and-fbc/

●      fr: The fr cookie is used for advertising purposes

User cookies used to identify a Facebook user:

●      _fbc: The _fbc cookie is a cookie set on the third party domain only if the
       advertiser/publisher has installed the Facebook Pixel business tool. It is only set if the
       click originated from the Facebook services (e.g., when clicking on an ad on
       Facebook news feed). The _fbc cookie contains an encrypted user id.

●      xs/c_user: The xs/c_user cookies are used to identify if a user is logged into the
       Facebook platform.
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3.      How are ads interests associated with a particular user? Where is ads interests data
for individual users stored? Facebook is to describe whether ad interests data can be
associated with a specific user via UID, RID, SID, ASID, or other means and whether it is
included in the DYI file.

Answer: Ads interests are associated with a particular user via UID. Ads interests data for
individual users are stored in                                              . They are also
available in DYI and Ads Settings.

4.      What is the estimated time and cost to produce ad interests data for the Named
Plaintiffs?

Answer: Ads interests for the Named Plaintiffs are in the DYI file.



                                           Contracts

1.      Is the data referenced in the contracts with      Microsoft, and/or            that
Facebook provided to Special Master Garrie for in camera review in connection with the
Named Plaintiff Data hearings included in the DYI file? If not, Facebook is to specify what
data is not included and where such data stored.

Answer: Based on a reasonable investigation to date, the list attached as Exhibit C
identifies user data in the contracts submitted to Special Master Garrie for in camera review
and (1) whether it is included in the DYI file, and (2) if it is not included in the DYI file, the
most likely location of that data. Upon further review of the contracts submitted, we note
that many do not actually relate to user data, and many are a decade or more old and relate to
products that were deprecated long ago.
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Sincerely,




Rosemarie T. Ring
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                 Exhibit C
                   Highly Confidential -
                   Attorneys' Eyes Only
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USER DATA TYPE                                                       LOCATION       CONTRACTS
Photos                                                               DYI            Microsoft Mobile App Submission, Windows Phone Facebook App (4/7/09)
                                                                                    Microsoft Mobile App Submission, Myphone (10/27/09)
                                                                                    Microsoft Application Development Amendment (1/7/10)
                                                                                    Microsoft Mobile App Submission, Windows 7 Mango (7/5/11)
                                                                                    Microsoft Mobile App Submission, Windows 8 (9/27/12)
                                                                                    Microsoft Mobile App Submission, Windows 8 (2/27/15)
Names                                                                DYI            Microsoft Application Development Amendment (1/7/10)
Make a friend request                                                DYI            Microsoft Application Development Amendment (1/7/10)
User ID                                                              DYI            Microsoft Feed Integration Agreement (+Amendment 1) (11/11/08):
                                                                                    Microsoft Limited Data Sharing Agreement (8/23/10)
                                                                                    Microsoft Bing Search on Facebook Service and Platform Agreement, Amendment 6 (12/23/14)
User name                                                            DYI            Microsoft Bing Search on Facebook Service and Platform Agreement, Amendment 6 (12/23/14);
                                                                                    Microsoft Limited Data Sharing Agreement (8/23/10)
Timestamp of update                                                  DYI            Microsoft Bing Search on Facebook Service and Platform Agreement, Amendment 6 (12/23/14)
Status update text                                                   DYI            Microsoft Bing Search on Facebook Service and Platform Agreement, Amendment 6 (12/23/14)
Shared link                                                          DYI            Microsoft Bing Search on Facebook Service and Platform Agreement, Amendment 6 (12/23/14)
Timestamp of when like performed                                     DYI            Microsoft Bing Search on Facebook Service and Platform Agreement, Amendment 6 (12/23/14)
Any like for the user                                                DYI            Microsoft Bing Search on Facebook Service and Platform Agreement, Amendment 6 (12/23/14)
Type of like action and URL being liked                              DYI            Microsoft Bing Search on Facebook Service and Platform Agreement, Amendment 6 (12/23/14)
User login data                                                      DYI            Microsoft Collaboration Evaluation Agreement (5/11/09)
IP address used for login                                            DYI            Microsoft Collaboration Evaluation Agreement (5/11/09)
Timestamp of login event                                             DYI            Microsoft Collaboration Evaluation Agreement (5/11/09)
User ID and timestamp of when a change occurred to user profile      DYI            Microsoft Limited Data Sharing Agreement (8/23/10):
User profile picture URL                                             DYI            Microsoft Limited Data Sharing Agreement (8/23/10)
Work history (contains employer)                                     DYI            Microsoft Limited Data Sharing Agreement (8/23/10)
Education (contains school)                                          DYI            Microsoft Limited Data Sharing Agreement (8/23/10)
Interest                                                             DYI            Microsoft Limited Data Sharing Agreement (8/23/10)
Movies                                                               DYI            Microsoft Limited Data Sharing Agreement (8/23/10)
Books                                                                DYI            Microsoft Limited Data Sharing Agreement (8/23/10)
Music                                                                DYI            Microsoft Limited Data Sharing Agreement (8/23/10)
Activities                                                           DYI            Microsoft Limited Data Sharing Agreement (8/23/10)
Gender                                                               DYI            Microsoft Limited Data Sharing Agreement (8/23/10)
Location                                                             DYI            Microsoft Limited Data Sharing Agreement (8/23/10)
Hometown                                                             DYI            Microsoft Limited Data Sharing Agreement (8/23/10)
Most recent stories                                                  DYI            Microsoft Mobile App Submission, Windows 7 Mango (7/5/11)
Online albums                                                        DYI            Microsoft Mobile App Submission, Windows 7 Mango (7/5/11)
Events                                                               DYI            Microsoft Mobile App Submission, Windows 7 Mango (7/5/11)
                                                                                    Microsoft Mobile App Submission, Windows 8 (9/27/12)
                                                                                    Microsoft Mobile App Submission, Facebook app for Windows Phone (6/5/13)
Upload photos and videos                                             DYI            Microsoft Mobile App Submission, Windows Phone Facebook App (4/7/09)
                                                                                    Microsoft Mobile App Submission, Windows 7 Mango (7/5/11)
                                                                                    Microsoft Mobile App Submission, Windows 8 (9/27/12)
                                                                                    Microsoft Mobile App Submission, Windows 8 (2/27/15)
                                                                                    Microsoft Mobile App Submission, Facebook app for Windows Phone (6/5/13)
Comment on feed stories                                              DYI            Microsoft Mobile App Submission, Windows 7 Mango (7/5/11)
View and create tags on FB photos, and respond to Facebook events    DYI            Microsoft Mobile App Submission, Windows 7 Mango (7/5/11
Offline messages                                                     DYI            Microsoft Mobile App Submission, Windows 8 (9/27/12)
Friends                                                              DYI            Microsoft Mobile App Submission, Windows 8 (9/27/12); Microsoft Limited Data Sharing
Stories                                                              DYI            Microsoft Mobile App Submission, Windows 8 (9/27/12)
Status updates (Posts)                                               DYI            Microsoft Mobile App Submission, Windows 8 (9/27/12)
Facebook Places (Your Places)                                        DYI            Microsoft Mobile App Submission, Windows 8 (9/27/12)
Email                                                                DYI            Microsoft Mobile App Submission, Windows Phone Facebook App (4/7/09)
                                                                                    Microsoft Mobile App Submission, Facebook app for Windows Phone (6/5/13)
                                                                                    Microsoft Mobile App Submission, Windows 8 (2/27/15)
Contacts                                                             DYI            Microsoft Mobile App Submission, Windows Phone Facebook App (4/7/09)
                                                                                    Microsoft Mobile App Submission, Facebook app for Windows Phone (6/5/13)
Update status                                                        DYI            Microsoft Mobile App Submission, Windows Phone Facebook App (4/7/09)
                                                                                    Microsoft Mobile App Submission, Facebook app for Windows Phone (6/5/13)
                                                                                    Microsoft Mobile App Submission, Windows 8 (2/27/15)
Facebook home page                                                   DYI            Microsoft Mobile App Submission, Windows Phone Facebook App (4/7/09)
                                                                                    Microsoft Mobile App Submission, Facebook app for Windows Phone (6/5/13)
                                                                                    Microsoft Mobile App Submission, Windows 8 (2/27/15)
Profile page                                                         DYI            Microsoft Mobile App Submission, Windows Phone Facebook App (4/7/09)
                                                                                    Microsoft Mobile App Submission, Facebook app for Windows Phone (6/5/13)
                                                                                    Microsoft Mobile App Submission, Windows 8 (2/27/15)
“Content that a given Facebook user or page sets as being viewable   DYI            Microsoft RealTime Data Licensing Agreement (10/20/09)
by everyone”
Privacy settings                                                     TAO and Hive   Microsoft Limited Data Sharing Agreement (8/23/10)
Set permissions (audience controls on a post)                        TAO            Microsoft Mobile App Submission, Windows 8 (9/27/12)
